           Case 1:11-cr-00873-ER Document 297 Filed 01/10/18 Page 1 of 6
                                                                        USDC SDNY
                                                                        DOCUMENT
                                                                        ELECTRONICALLY FILED
UNITED STATES DISTRICT COURT                                            DOC #: _________________
SOUTHERN DISTRICT OF NEW YORK                                           DATE FILED: January 10, 2018
 -------------------------------------------------------------------X
 JOHN FAZIO, JR.,                                                   :
                                        Petitioner,                 :
                                                                    :       16-cv-7792 (KBF)
                            -v-                                     :       11-cr-0873 (KBF)
                                                                    :
 UNITED STATES OF AMERICA,                                          :
                                                                    :     OPINION & ORDER
                                        Respondent.                 :
 -------------------------------------------------------------------X

KATHERINE B. FORREST, District Judge:

         John Fazio, Jr., currently incarcerated at F.C.I. Fort Dix, brings a petition

under 28 U.S.C. § 2255 to vacate, set aside, or correct his sentence. Fazio was

sentenced on September 13, 2012 to 135 months of incarceration and $2.5 million in

restitution and forfeiture for racketeering conspiracy under 18 U.S.C. § 1962(d);

racketeering under 18 U.S.C. § 1962(c); extortion conspiracy in violation of the

Hobbs Act, 18 U.S.C. § 1951; receiving unlawful labor payments in violation of 29

U.S.C. § 186(b)(1) and (d)(2); and conspiracy to commit money laundering in

violation of the Hobbs Act, 18 U.S.C. § 1956(b). Fazio’s petition asserts ineffective

assistance of counsel at sentencing with respect to the loss calculation as well as the

restitution and forfeiture penalties.

         For the reasons set forth below, the petition is DENIED.

    I.       BACKGROUND

         In 2012, John Fazio, Jr., (“Fazio” or “petitioner”) was convicted of a number of

crimes relating to misconduct as vice president and, later, secretary treasurer of a

labor union. As the facts of this case are laid out extensively elsewhere, (see, e.g.,
           Case 1:11-cr-00873-ER Document 297 Filed 01/10/18 Page 2 of 6



ECF Nos. 125–30, Trial Tr.; ECF No. 15, Mem. of Law of the United States of

America in Opp’n to Pet’r John Fazio’s Pet. Pursuant to 28 U.S.C. § 2255 to Vacate,

Set Aside, or Correct His Sentence, at 3–5), the Court provides only an overview of

those aspects most relevant to this § 2255 petition.

         With his uncle, Anthony Fazio, Sr., and cousin, Anthony Fazio, Jr., petitioner

used his position as the leader of a union to extort payoffs and secure illegal

kickbacks from union employers. (Presentence Investigation Report (“PSR”) ¶ 32.)

To secure these payments, Fazio threatened employers with labor disruptions

and/or physical harm. (Id. ¶¶ 32, 39.) The defendants also participated in a money

laundering scheme to hide these payments. (Id. ¶ 33.) The loss to the union

membership was approximately $2.5 million, and the value of the prohibited

payments and theft of union funds exceeded that amount. (Id. ¶¶ 40, 48.)

         At trial, Fazio was represented Gerald McMahon and Mathew Mari. At

sentencing, he was represented by Ronald Fischetti. The Court imposed a sentence

of incarceration for 135 months, as well as restitution and forfeiture of $2,500,000.

On his direct appeal to the Second Circuit, Fazio challenged, inter alia, this Court’s

sentence—including its calculation of the loss amount—as procedurally

unreasonable. The Second Circuit rejected the appeal on all grounds. United

States v. Fazio, 770 F.3d 160, 170 (2d Cir. 2014).

   II.      LEGAL PRINCIPLES

         Petitioner asserts that ineffective assistance of counsel resulted in a longer

sentence than he would have otherwise received. (See ECF No. 9, Am. Mot. to

                                             2
            Case 1:11-cr-00873-ER Document 297 Filed 01/10/18 Page 3 of 6



Vacate Sentence by Person in Fed. Custody Pursuant to 28 U.S.C. § 2255.) To

prevail on an ineffective assistance claim, Fazio “must [first] show that counsel’s

representation fell below an objective standard of reasonableness,” as measured

against “prevailing professional norms.” Strickland v. Washington, 466 U.S. 668,

688 (1984). In addition, he must demonstrate that counsel’s “deficient performance

prejudiced the defense,” id. at 687, meaning that “there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the proceeding would have

been different,” id. at 694.

         “[A] section 2255 petition cannot be used to ‘relitigate questions which were

raised and considered on direct appeal.’” Reese v. United States, 329 F. App’x 324,

326 (2d Cir. 2009) (quoting United States v. Sanin, 252 F.3d 79, 83 (2d Cir. 2001)).

The law of the case doctrine requires, inter alia, a trial court to “follow an appellate

court’s previous ruling on an issue in the same case.” United States v. Quintieri,

306 F.3d 1217, 1225 (2d Cir. 2002) (citing United States v. Uccio, 940 F.2d 753, 757

(2d Cir. 1991)).1 This rule—commonly referred to as the “mandate rule”—“compels

compliance on remand with the dictates of the superior court and forecloses

relitigation of issues expressly or impliedly decided by the appellate court.” United

States v. Ben Zvi, 242 F.3d 89, 95 (2d Cir. 2001) (emphasis in original) (quoting

United States v. Bell, 5 F.3d 64, 66 (4th Cir. 1993)).



1
 Petitioner cites United States v. Becker to argue that application of the law of the case doctrine is a matter of
discretion and thus, this Court need not apply it. (ECF No. 17, Reply Mem. at 5.) See also United States v. Becker,
502 F.3d 122 (2d Cir. 2007). However, the passage upon which petitioner relies refers to application by the
appellate court; it does not, as petitioner suggests, indicate that the district court may ignore a ruling of the Second
Circuit at its own discretion.
                                                           3
          Case 1:11-cr-00873-ER Document 297 Filed 01/10/18 Page 4 of 6



      Additionally, “restitution orders cannot be challenged through a habeas

petition because a monetary fine is not a sufficient restraint on liberty to meet the

‘in custody’ requirement [of 28 U.S.C. § 2255(a)], even if raised in conjunction with a

challenge to a sentence of imprisonment.” United States v. Boyd, 407 Fed. App’x

559, 560 (2d Cir. 2011) (internal quotation omitted). The same goes for orders of

forfeiture. Kaminski v. United States, 339 F.3d 84, 87 (2d Cir. 2003) (“§ 2255 may

not be used to bring collateral challenges addressed solely to noncustodial

punishments . . . because the language of § 2255 is best read as requiring a

challenge to custody . . . [and] collateral challenges have historically been permitted

through habeas only when an interest as compelling as freedom from custody is at

stake.”) This is the case whether or not these claims are brought in conjunction to a

challenge to a custodial sentence. Id. at 89 (“Habeas lies to allow attacks on

wrongful custodies. There is therefore no reason why the presence of a plausible

claim against a custodial punishment should make a noncustodial punishment more

amenable to collateral review than it otherwise might be.”)

   III.   DISCUSSION

      In sum, petitioner argues that his counsel failed to contest the entirety of the

loss calculation and certain forfeiture and restitution issues at his sentencing. (Am.

Mot. at 2.) Petitioner’s claim fails under the first prong of Strickland: the record

amply demonstrates that his counsel’s conduct was within the range of

reasonableness. Even if that were not the case, the claim would fail under the




                                           4
         Case 1:11-cr-00873-ER Document 297 Filed 01/10/18 Page 5 of 6



second prong of Strickland because petitioner has failed to demonstrate that his

counsel’s alleged failure resulted in prejudice.

       As to the loss calculation argument, Fazio says his counsel was ineffective for

failing to: (1) challenge the Government’s documentary evidence; (2) seek a Fatico

hearing; and (3) seek a Studley determination as to when Fazio’s participation in

the conspiracy began. However, on appeal, Fazio challenged the procedural

reasonableness of the Court’s loss calculation. The Second Circuit ruled that this

argument had no merit. United States v. Fazio, 770 F.3d 160, 170 (2d Cir. 2014).

Additionally, this Court recently adjudicated a habeas claim by Fazio’s uncle and

co-defendant, Anthony Fazio, Sr., and ruled that the same money laundering loss

calculation was accurate—the “two-point enhancement for the obstruction of justice

charge [the subject of Fazio’s petition] was lawfully applied.” Fazio v. United

States, 2017 WL 4232574, at *6 (S.D.N.Y. Sept. 22, 2017). The law of the case

doctrine thus bars this Court from entertaining relitigation of the loss calculation’s

accuracy. As such, it could not have been unreasonable for Fazio’s counsel to fail to

take the steps Fazio outlines in response to the loss calculation. “The failure to

include a meritless argument does not fall outside the wide range of professionally

competent assistance to which Petitioner was entitled.” Aparicio v. Artuz, 269 F.3d

78, 99 & n.10 (2d Cir. 2001) (internal quotation omitted) (holding that if a claim was

meritless, petitioner’s trial counsel was not ineffective for failing to raise it).

       Even if this claim were not meritless, and even if Fazio’s counsel acted

unreasonably, Fazio has not demonstrated that prejudice resulted, as the Court has

                                             5
           Case 1:11-cr-00873-ER Document 297 Filed 01/10/18 Page 6 of 6



ruled that the loss calculation was correct (and thus would have imposed the same

sentence regardless). And in any case, the guidelines are “advisory . . . and not

binding on this Court. . . . [T]he Court must itself determine an appropriate offense

level.” (Sen. Tr. at 9:1–3.) There is no evidence that the Court might have imposed

a different sentence if counsel had challenged every aspect of the loss calculation.

As such, this claim would still fail under Strickland.

         Separately, Fazio’s challenge to the restitution and forfeiture penalties is not

permitted under § 2255. Only claims regarding custodial sentences are cognizable

under the statute—claims regarding forfeiture and restitution are not. As such,

Fazio cannot bring a claim that his counsel was ineffective with respect to this

aspect of his sentence.

   IV.      CONCLUSION

         For the reasons set forth above, petitioner’s § 2255 motion to vacate, set aside

or correct his sentence is DENIED. The Clerk of Court is directed to terminate

Fazio’s petition at 16-cv-8529 ECF No. 1 and 11-cr-0873 ECF No. 278 and to

terminate 16-cv-8529.

         SO ORDERED.

Dated:         New York, New York
               January 10, 2018
                                                 ______________________________________
                                                       KATHERINE B. FORREST
                                                       United States District Judge




                                             6
